                                                                            THE HONORABLE MICHAEL H. SIMON




                                   IN THE UNITED STATES DISTRICT COURT

                                           FOR THE DISTRICT OF OREGON

                                                    PORTLAND DIVISION


     CONSTANCE GEORGE
                                                     Plaintiff,              NO. 3:15-CV-01277-SI
     v.

     HOUSE OF HOPE RECOVERY and                                              PLAINTIFF’S PROPOSED JURY
     PATRICIA BARCROFT                                                       INSTRUCTIONS


                                                 Defendants.

The Plaintiff submits the following proposed jury instructions.




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Plaintiff’s Proposed Jury Instruction No. 23

FAIR HOUSING CLAIM—DISPARATE TREATMENT – WHEN EVIDENCE
SUPPORTS “SOLE REASON” OR “MOTIVATING FACTOR”

The plaintiff has brought a claim for housing discrimination against the defendants. The plaintiff
claims that her race was either the sole reason or a motivating factor for the defendant’s decision
to terminate plaintiff’s tenancy or subject her to different terms and conditions. The defendants
deny that the plaintiff’s race was either the sole reason or a motivating factor for the defendants’
decision to terminate plaintiff’s tenancy or subject her to different terms and conditions.




          Ninth Circuit Model Instruction No. 10.1 (modified)
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Plaintiff’s Proposed Jury Instruction No. 24

FAIR HOUSING CLAIM—DISPARATE TREATMENT – “SOLE REASON” –
ELEMENTS AND BURDEN OF PROOF

As to the plaintiff’s claim that her race was the sole reason for the defendants’ decision to
terminate her tenancy or subject her to different terms and conditions, the plaintiff has the burden
of proving both of the following elements by a preponderance of the evidence:

     1. The plaintiff’s tenancy was terminated by the defendants; or
     2. The plaintiff was subjected to different terms and conditions in her tenancy; and
     3. The defendants’ actions were solely because of plaintiff’s race.

If you find that the plaintiff has proved these elements, your verdict should be for the plaintiff.
If, on the other hand, the plaintiff has failed to prove either of these elements, your verdict should
be for the defendant.




          Ninth Circuit Model Instruction No. 10.2 (modified)
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Plaintiff’s Proposed Jury Instruction No. 25

FAIR HOUSING CLAIM—DISPARATE TREATMENT – “MOTIVATING FACTOR” –
ELEMENTS AND BURDEN OF PROOF

As to the plaintiff’s claim that her race was a motivating factor for the defendants’ decision to
terminate her tenancy or subject her to different terms and conditions, the plaintiff has the burden
of proving both of the following elements by a preponderance of the evidence:

     1. The plaintiff’s tenancy was terminated by the defendants; or
     2. The plaintiff was subjected to different terms and conditions in her tenancy; and
     3. The plaintiff’s race was a motivating factor in the defendants’ actions.

If you find that the plaintiff has proved these elements, your verdict should be for the plaintiff.
If, on the other hand, the plaintiff has failed to prove either of these elements, your verdict should
be for the defendant.




          Ninth Circuit Model Instruction No. 10.3 (modified)

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Plaintiff’s Proposed Jury Instruction No. 26

FAIR HOUSING CLAIM—DISCRIMINATORY STATEMENT

The plaintiff has brought a claim for housing discrimination against the defendants. The plaintiff
claims that the Defendants made a statement that indicated a preference, limitation, or
discrimination based on her race with respect to renting plaintiff a dwelling. The defendants
deny that they made such a statement.




          42 U.S.C. § 3604(c)
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Plaintiff’s Proposed Jury Instruction No. 27

FAIR HOUSING CLAIM—DISCRIMINATORY STATEMENT – ELEMENTS AND
BURDEN OF PROOF

As to the plaintiff’s claim that defendants made a statement that indicated a preference,
limitation, or discrimination based on her race with respect to renting plaintiff a dwelling, the
plaintiff has the burden of proving the following elements by a preponderance of the evidence:

     1. The defendants made a statement; and
     2. That statement indicates a preference, limitation, or discrimination based on race.

If you find that the plaintiff has proved these elements, your verdict should be for the plaintiff.
If, on the other hand, the plaintiff has failed to prove either of these elements, your verdict should
be for the defendant.




          42 U.S.C. § 3604(c)

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Plaintiff’s Proposed Jury Instruction No. 28

SECTION 1981—INTRODUCTORY INSTRUCTION

In this case plaintiff has made a claim under the Federal Civil Rights statute that prohibits
discrimination against a tenant because of the person’s race.

Specifically, plaintiff claims that she was terminated from her tenancy by Defendant House
because of her race.

Defendant denies that plaintiff was discriminated against in any way.




          Third Circuit Model Instruction No. 6.0 (modified)

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Plaintiff’s Proposed Jury Instruction No. 29

SECTION 1981 CLAIM—DISPARATE TREATMENT – ELEMENTS OF A SECTION
1981 CLAIM – MOTIVATING FACTOR

In this case plaintiff is alleging that Defendant House terminated her tenancy because of her race.
In order for plaintiff to recover on this discrimination claim against Defendant House, plaintiff
must prove that Defendant House intentionally discriminated against plaintiff. This means that
plaintiff must prove that her race was a motivating factor in Defendant House’s decision to
terminate her tenancy.

To prevail on this claim, plaintiff must prove both of the following by a preponderance of the
evidence:

     1. Defendant House terminated plaintiff’s tenancy; and
     2. Plaintiff’s race was a motivating factor in Defendant House’s decision.

Although plaintiff must prove that Defendant House acted with the intent to discriminate,
plaintiff is not required to prove that Defendant House acted with the particular intent to violate
plaintiff’s federal civil rights.

In showing that plaintiff’s race was a motivating factor for Defendant House’s action, plaintiff is
not required to prove that her race was the sole motivation or even the primary motivation for
Defendant House’s decision. Plaintiff need only prove that her race played a motivating part in
Defendant House’s decision even though other factors may also have motivated Defendant
House.

As used in this instruction, plaintiff’s race was a “motivating factor” if her race played a role in
Defendant House’s decision to terminate plaintiff’s tenancy.

If you find that the plaintiff has proved these elements, your verdict should be for the plaintiff.
If, on the other hand, the plaintiff has failed to prove either of these elements, your verdict should
be for the defendant.




          Third Circuit Model Instruction No. 6.1.1 (modified)
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Plaintiff’s Proposed Jury Instruction No. 30

SECTION 1981 CLAIM—DISPARATE TREATMENT – ELEMENTS OF A SECTION
1981 CLAIM – PRETEXT

In this case plaintiff is alleging that the defendants terminated her tenancy because of her race.
In order for plaintiff to recover on this discrimination claim against defendants, plaintiff must
prove that defendants intentionally discriminated against plaintiff. This means that plaintiff must
prove that her race was a determinative factor in defendants’ decision to terminate her tenancy.

To prevail on this claim, plaintiff must prove both of the following by a preponderance of the
evidence:

     1. Defendant House terminated plaintiff’s tenancy; and
     2. Plaintiff’s race was a determinative factor in Defendant House’s decision.

Although plaintiff must prove that defendant acted with the intent to discriminate, plaintiff is not
required to prove that defendant acted with the particular intent to violate plaintiff’s federal civil
rights. Moreover, plaintiff is not required to produce direct evidence of intent, such as
statements admitting discrimination. Intentional discrimination may be inferred from the
existence of other facts.

Defendant has given a nondiscriminatory reason for its decision to terminate her tenancy. If you
disbelieve defendant’s explanations for its conduct, then you may, but need not, find that
plaintiff has proved intentional discrimination.

Ultimately, you must decide whether plaintiff has proven that her race was a determinative factor
in Defendant House’s decision to terminate her tenancy. “Determinative factor” means that if
not for plaintiff’s race, her tenancy would not have been terminated.




          Third Circuit Model Instruction No. 6.1.2 (modified)
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RESPECTFULLY SUBMITTED,

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